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                                                                                                                             JS-3
                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.            2:18-cr-00742-RGK-6

 Defendant           MARIBEL PANIAGUA                                        Social Security No. 0         4   2   6
 akas:                                                                       (Last 4 digits)

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                   MONTH   DAY      YEAR
             In the presence of the attorney for the government, the defendant appeared in person on this date.    SEPT     14      2020

  COUNSEL                                                         KAREN KENNEY, CJA PANEL
                                                                             (Name of Counsel)

      PLEA           X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO               NOT
                                                                                                               CONTENDERE           GUILTY
           There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
     FINDING
          Distribution of Methamphetamine; Aiding and Abetting, in violation of 21USC 841(a)(1),(b)(1)(A)(viii) and 18USC 2(a), as
          charged in Count 9 of the Indictment
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER   custody of the Bureau of Prisons to be imprisoned for a term of:

                                                     FORTY-EIGHT (48) MONTHS

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due
immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than
$25 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

       Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has
established that she is unable to pay and is not likely to become able to pay any fine.

        Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant,
Maribel Paniagua, is hereby committed on Count 9 of the Indictment to the custody of the Bureau of Prisons
for a term of FORTY-EIGHT (48) MONTHS.

      The Court recommends that the Bureau of Prisons conduct a mental health evaluation of the defendant
and provide all necessary treatment.

    Upon release from imprisonment, the defendant shall be placed on supervised release for a term of
THREE (3) YEARS under the following terms and conditions:

1.       The defendant shall comply with the rules and regulations of the United States Probation & Pretrial
         Services Office and General Order 20-04, excluding Condition 14 in Section I of that Order.



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2.       The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall
         submit to one drug test within 15 days of release from custody and at least two periodic drug tests
         thereafter, not to exceed eight tests per month, as directed by the Probation Officer.

3.       The defendant shall participate in an outpatient substance abuse treatment and counseling program that
         includes urinalysis, breath or sweat patch testing, as directed by the Probation Officer. The defendant
         shall abstain from using alcohol and illicit drugs, and from abusing prescription medications during the
         period of supervision.

4.       As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-
         ordered treatment to the aftercare contractors during the period of community supervision. The
         defendant shall provide payment and proof of payment as directed by the Probation Officer. If the
         defendant has no ability to pay, no payment shall be required.

5.       During the period of community supervision, the defendant shall pay the special assessment in
         accordance with this judgment's orders pertaining to such payment.

6.       The defendant shall cooperate in the collection of a DNA sample from the defendant.

7.       The defendant shall submit her person, property, house, residence, vehicle, papers, computers (as
         defined in 18 U.S.C. § 1030(e)(1)), cell phones, other electronic communications or data storage
         devices or media, email accounts, social media accounts, cloud storage accounts, or other areas under
         the defendant’s control, to a search conducted by a United States Probation Officer or law enforcement
         officer. Failure to submit to a search may be grounds for revocation. The defendant shall warn any
         other occupants that the premises may be subject to searches pursuant to this condition. Any search
         pursuant to this condition will be conducted at a reasonable time and in a reasonable manner upon
         reasonable suspicion that the defendant has violated a condition of her supervision and that the areas to
         be searched contain evidence of this violation.

       The Court authorizes the Probation & Pretrial Services Office to disclose the Presentence Report to the
substance abuse treatment provider to facilitate the defendant's treatment for narcotic addiction or drug
dependency. Further redisclosure of the Presentence Report by the treatment provider is prohibited without
the consent of the sentencing judge.

         The defendant is advised of her right to appeal.

         Counsel for the government motions the Court to dismiss Count 1 of the Indictment. Motion granted.

    The Court recommends that the defendant be considered for participation in the Bureau of Prisons’
RDAP Program.

       The Court recommends that the defendant be designated to a Bureau of Prisons facility in Southern
California.

         Defendant’s bond is ordered exonerated.

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         Remand order issued in Court.


 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            September 15, 2020
            Date                                                  R. GARY KLAUSNER, United States District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                  Clerk, U.S. District Court



            September 15, 2020                              By    /s/ Sharon L. Williams
            Filed Date                                            Deputy Clerk




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 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                     STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                     While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local          9.    The defendant must not knowingly associate with any persons engaged
       crime;                                                                        in criminal activity and must not knowingly associate with any person
 2.    he defendant must report to the probation office in the federal               convicted of a felony unless granted permission to do so by the probation
       judicial district of residence within 72 hours of imposition of a             officer. This condition will not apply to intimate family members, unless
       sentence of probation or release from imprisonment, unless                    the court has completed an individualized review and has determined
       otherwise directed by the probation officer;                                  that the restriction is necessary for protection of the community or
 3.    The defendant must report to the probation office as instructed by            rehabilitation;
       the court or probation officer;                                         10.   The defendant must refrain from excessive use of alcohol and must not
 4.    The defendant must not knowingly leave the judicial district                  purchase, possess, use, distribute, or administer any narcotic or other
       without first receiving the permission of the court or probation              controlled substance, or any paraphernalia related to such substances,
       officer;                                                                      except as prescribed by a physician;
 5.    The defendant must answer truthfully the inquiries of the probation     11.   The defendant must notify the probation officer within 72 hours of being
       officer, unless legitimately asserting his or her Fifth Amendment             arrested or questioned by a law enforcement officer;
       right against self-incrimination as to new criminal conduct;            12.   For felony cases, the defendant must not possess a firearm, ammunition,
 6.    The defendant must reside at a location approved by the probation             destructive device, or any other dangerous weapon;
       officer and must notify the probation officer at least 10 days before   13.   The defendant must not act or enter into any agreement with a law
       any anticipated change or within 72 hours of an unanticipated                 enforcement agency to act as an informant or source without the
       change in residence or persons living in defendant’s residence;               permission of the court;
 7.    The defendant must permit the probation officer to contact him or       14.   As directed by the probation officer, the defendant must notify specific
       her at any time at home or elsewhere and must permit confiscation             persons and organizations of specific risks posed by the defendant to
       of any contraband prohibited by law or the terms of supervision and           those persons and organizations and must permit the probation officer to
       observed in plain view by the probation officer;                              confirm the defendant’s compliance with such requirement and to make
 8.    The defendant must work at a lawful occupation unless excused by              such notifications;
       the probation officer for schooling, training, or other acceptable      15.   The defendant must follow the instructions of the probation officer to
       reasons and must notify the probation officer at least ten days               implement the orders of the court, afford adequate deterrence from
       before any change in employment or within 72 hours of an                      criminal conduct, protect the public from further crimes of the
       unanticipated change;                                                         defendant; and provide the defendant with needed educational or
                                                                                     vocational training, medical care, or other correctional treatment in the
                                                                                     most effective manner.




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             The defendant must also comply with the following special conditions (set forth below).

                 STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

         The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C. §
 3563(a)(7).

           Payments will be applied in the following order:

                     1. Special assessments under 18 U.S.C. § 3013;
                     2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                       States is paid):
                               Non-federal victims (individual and corporate),
                               Providers of compensation to non-federal victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, under 18 U.S.C. § 3663(c); and
                     5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS
          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit report
 inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement, with
 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.

         The defendant must maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
 must be deposited into this account, which must be used for payment of all personal expenses. Records of all other bank accounts, including
 any business accounts, must be disclosed to the Probation Officer upon request.




         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.




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                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal

                                                                  CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk
                                                 FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.




         (Signed)
                     Defendant                                                      Date




                     U. S. Probation Officer/Designated Witness                     Date




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